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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK



 UNITED STATES OF AMERICA,

                    Plaintiff,

           -v.-                                 VERIFIED COMPLAINT
                                                FOR FORFEITURE
Approximately $429,547.02 in
United States currency currently                18 Civ.
on deposit in Citibank checking
account 4988947242 held in the
name of John Ashe;

A Rolex Sky-dweller watch, Serial
Number 11781846; and

a Rolex Datejust II watch, Serial :
Number 11731437,

                  Defendants-in-rem.



     Plaintiff the United States of America (the "Government"), by

its attorney Geoffrey S. Berman, United States Attorney for the

Southern District of New York, for its verified complaint (the

"Complaint") alleges, upon information and belief, as follows:

                             INTRODUCTION

     1.   This action is brought by the Government pursuant to

18 U.S.C. §§ 981(a)(1)(A) and (C), and 985, seeking the

forfeiture of certain property traceable to and/or involved in a

bribery and money laundering scheme.
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     2.   The property sought by this complaint was subject to

criminal forfeiture in connection with the prosecution of John

Ashe in United States v. John W. Ashe, et al., 15 Cr. 706 (VSB),

but those criminal forfeiture proceedings have been terminated

by order of Nolle Prosequi before any final order of forfeiture

as a result of Ashe's death on June 22, 2016.

     3.   By this Complaint, the Government seeks forfeiture of

all right, title and interest in the following property:

          a. Approximately $429,547.02 in United
          States currency on deposit in Citibank
          checking account 4988947242 held in the name
          of John Ashe (the "Defendant Account"), which,
          pursuant to the December 9, 2015 Stipulation
          and Order filed in United States v. Ashe, et
          al., 15 Cr. 706 (VSB), includes:

               (i) All funds formerly on deposit in
               Citibank checking account 4984033347
               held in the names of John Ashe,, Anilla
               Cherian, and Son #1 and currently on
               deposit in the Defendant Account (the
               "3347 Account");

                (ii)All funds formerly on deposit in
                Citibank checking account 4984033398
                held in the name of John Ashe as
                custodian for Son #2 and currently on
                deposit in the Defendant Account (the
                "3398 Account");

               (iii)     All funds formerly on deposit
               in Citibank checking account 4984033304
               held in the name of John Ashe and Anilla
               Cherian and currently on deposit in
               Defendant Account (the "3304 Account");

               (iv) All funds formerly on deposit in
               Citibank savings account 4984033312 held
               in the name of John Ashe and Anilla
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               Cherian and currently on deposit in
               Defendant Account (the "3312 Account");

               (v) All funds formerly on deposit in
               Citibank savings account 4984035529 held
               in the name of John Ashe as custodian for
               Son #1 currently on deposit in Defendant
               Account (the "5529 Account");

               (vi)All funds formerly on deposit in
               Citibank checking account 4991647654,
               held in the name of Cherian Ashe Group
               Ltd. and currently on deposit in the
               Defendant Account (the "7654 Account");
               and

               (vii)     All funds formerly on deposit
               in Citibank brokerage account C25037711,
               held in the name of John Ashe and
               currently on deposit in Defendant Account
               (the "7711 Account");

          (i-vii, collectively, the "Subject Accounts").

          b. A Rolex Sky-dweller watch, Serial Number
          11781846 ("Rolex-1); and

          c. A Rolex Datejust II watch, Serial Number
          11731437 ("Rolex-2")

and all property traceable thereto.

                       JURISDICTION AND VENUE

     4.   This Court has jurisdiction over this action pursuant

to 28 U.S.C. §§ 1345 and 1355(a) and (b)(1)(A).

     5.   Venue is proper pursuant to 28 U.S.C. § 1355(b)(1)(A)

because acts and omissions giving rise to the forfeiture took

place in the Southern District of New York.
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                           BACKGROUND

     6.   John W. Ashe ("Ashen) served in various positions at

the Permanent Mission of Antigua and Barbuda ("Antigua") to the

United Nations ("UN"), the headquarters of which is located in

New York, New York. Starting in or about May 2004, and

continuing until in or about Fall 2014, Ashe served as the

Permanent Representative of Antigua to the UN, that is,

Antigua's ambassador to the UN.

     7.   Beginning in or about 2011, Ashe expected to be

elected as the 68th President of the UN General Assembly

("UNGA"), and began soliciting money from others, purportedly to

support his forthcoming Presidency. On or about June 13, 2013,

Ashe was formally elected as the UNGA President for a one-year

term beginning in or about September 2013 and ending in or about

September 2014.

                            THE INDICTMENT

     8.   On or about October 20, 2015, Ashe, among others, was

charged in two counts of a ten-count Indictment, United States

v. John W. Ashe, et a/., 15 Cr. 706 (VSB) (the "Indictment"), a

copy of which is attached as Exhibit A, and incorporated herein

by reference, charging Ashe with two counts of Subscribing to a

False or Fraudulent United States Income Tax Return, in

violation of Title 26, United States Code, Section 7206(1).
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     9.   The Indictment also charged four other individuals

with conspiracy to commit bribery, in violation of Title 18,

United States Code, Section 371 (Count One), bribery, in

violation of Title 18, United States Code, Section

666(a)(2)(Counts Two through Five), conspiracy to commit money

laundering, in violation of Title 18, United States Code,

Section 1956(h) (Count Six), and money laundering, in violation

of Title 18, United States Code, Section 1956(a)(2)(A) (Counts

Seven and Eight). Ashe was one of the recipients of the bribes

charged, and of money transmitted in violation of the money

laundering statute.'

     10. As alleged in the Indictment, in exchange for monetary

payments, Ashe, while serving as the Permanent Representative of

Antigua to the UN and later as the President of the United

Nations General Assembly, agreed to and did perform official

actions for businesspeople based in China who were seeking

benefits from the UN and/or the government of Antigua.         (See

Indictment 1111 2 and 4).

     11. As alleged, during the course of the scheme, Ashe

agreed to and did accept at least hundreds of thousands of




     Ashe was not identified by name in Counts Two through Eight
of the Indictment as the individual being bribed. Instead, all
references to Ashe referred to him as the President of the UN
General Assembly.
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dollars in bribes from co-conspirators, certain of whom were

seeking to build a multi-billion dollar, UN-sponsored conference

center in Macau, China (the "the UN Macau Conference Center").

In exchange for these payments, among other actions, Ashe agreed

to and did submit an official UN document to the then-Secretary-

General of the UN, which claimed that there was a purported need

to build the UN Macau Conference Center. In addition, in return

for the bribe payments, Ashe agreed to support businesspeople's

interests within the UN and/or within the Antiguan government.

     12. As alleged, Ashe solicited a portion of his bribes to

be paid to two business bank accounts that Ashe opened at two

major American banks, in the name "John Ashe dba John Ashe PGA

68," and "Office of the President of the General Assembly PGA 68

Operating Account," for the purported purpose of raising money

for his UN General Assembly Presidency ("PGA Account-1" and "PGA

Account-2," together, the "PGA Accounts"). Ashe was the sole

signatory on both of the PGA Accounts. From in or about 2012,

up to and including at least in or about 2014, Ashe received

over $3 million in the PGA Accounts from both foreign

governments and individuals. During the same time period, Ashe

withdrew more than $1,000,000 from the PGA Accounts and

transferred the money to personal bank accounts, including the

Defendant Account and Subject Accounts (together, "the Personal

Accounts").
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     13. As alleged, from in or about 2012, up to and including

at least in or about 2014, Ashe transferred more than $1,000,000

from the PGA Accounts to his personal bank accounts, including

the Personal Accounts, in the United States, and used the money

to pay for, among other things, Rolex-1 and Rolex-2.

     14. On or about July 7, 2016, following Ashe's death, a

Nblle Prosequi was so-ordered by United States District Judge

Vernon S. Broderick.

     15.   All defendants charged with conspiracy to bribe

and/or bribing Ashe have pleaded guilty, except for defendant Ng

Lap Seng, a/k/a "David Ng," a/k/a "Wu Liseng," who proceeded to

trial on June 26, 2017, and was convicted of all counts, as

charged in Superseding Indictment S5 15 Cr. 706 (VSB) (which is

also incorporated by reference herein), on July 27, 2017.

Specifically, Ng was convicted of one count of conspiracy to

commit bribery and to violate the Foreign Corrupt Practices Act

("FCPA"), one count of bribery, two counts of violating the

FCPA, one count of conspiracy to commit money laundering, and

one count of money laundering.

                            PROBABLE CAUSE

     16. A review of the bank records for the PGA Accounts

along with the bank records of the Personal Accounts, and other

bank and financial records, revealed that one or more of the

Personal Accounts received proceeds traceable to the bribery
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scheme, and that certain monies transmitted in furtherance of

that scheme, including monies transmitted to or transferred into

one or more of the Personal Accounts, were transmitted from

China to and/or through the United States, as alleged in the

Indictment. Review of bank and other financial records also

revealed, among other things:

          a.   In or about September 2015, there was in excess

of $104,000 in proceeds traceable to the bribery scheme on

deposit in the 3304 Account.

          b.   On or about March 16, 2014, Ashe purchased the

Rolex-1 and Rolex-2 in part by charging the amount of $49,592.56

with his American Express credit card (the "Amex Account").

          c.   On or about March 18, 2014, there was in excess

of $49,592.56 in proceeds traceable to the bribery scheme on

deposit in the 3304 Account.

          d.   On March 18, 2014, a payment from the 3304

Account was made to the Amex Account, which was applied to the

balance due for the Rolex-1 and Rolex-2 purchase.

     17. On or about December 9, 2015, Ashe and the Government

entered into a stipulation authorizing the transfer of all funds

on deposit in the Personal Accounts (except for $12,000) to the

Defendant Account and the freezing of those funds, in light of

the Government's allegation that the Personal Accounts contained

or were derived from proceeds traceable to the bribery scheme
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and/or property involved in money laundering. This stipulation

was so-ordered by United States District Judge Vernon S.

Broderick.

     18. Accordingly, Rolex-1, Rolex-2, and the Defendant

Account, is forfeitable pursuant to Title 18, United States

Code, Section 981(a)(1)(A) and/or (C).

                           FIRST CLAIM
      (FORFEITURE UNDER 18 U.S.C. §§ 981(a)(1)(C) and 985)

     19. The Government incorporates by reference paragraphs 1

through 18 above as if fully set forth herein.

     20. Title 18, United States Code, Section 981(a)(1)(C)

subjects to forfeiture:

          [a]ny property, real or personal, which
          constitutes or is derived from proceeds
          traceable to . . . any offense constituting
         .'specified unlawful activity' (as defined in

          section 1956(c)(7) of this title), or a
          conspiracy to commit such offense.

     21. Title 18, United States Code, Section 1956(c)(7)(D)

provides that the term "specified unlawful activity" includes an

offense under "section 666," as is charged in Counts Two through

Five of the Indictment.

     22. The Defendants in Rem constitute proceeds of the

bribery offenses alleged above and therefore are subject to

forfeiture pursuant to 18 U.S.C. § 981(a)(1)(C).
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                          SECOND CLAIM
      (FORFEITURE UNDER 18 U.S.C. §§ 981(a)(1)(A) and 985)

     23. The Government incorporates by reference paragraphs 1

through 18 above as if fully set forth herein.

     24. Title 18, United States Code, Section 981(a)(1)(A)

subjects to forfeiture:

          any property,    real or personal, involved in
          a transaction    in violation of 1956 [or] 1957
          of [title 18,    relating to money laundering
          offenses], or    any property traceable to such
          property.

     25. The Defendants in Rem constitute property involved in

the money laundering offenses alleged above and therefore are

subject to forfeiture pursuant to 18 U.S.C. § 981(a) (1)(A).

                          REQUEST FOR RELIEF

     WHEREFORE plaintiff, the United States of America, requests

that judgment be entered as follows:

     A.   Enter judgment against the Defendants in Rem, and in

          favor of the United States, on the first claim alleged

          in the Complaint and on the second claim alleged in

          the Complaint;

     B.   Issue process to enforce the forfeiture of the

          Defendants in Rem, requiring that all persons having

          an interest in the Defendants in Rem be cited to

          appear and show cause why the forfeiture should not be

          decreed, and that this Court decree forfeiture of the
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         Defendants in Rem to the United States of America for

         disposition according to law; and

    C.   Grant the Government such further relief as this Court

         may deem just and proper, together with the costs and

         disbursements in this action.

Dated:   New York, New York
         February 2k,, 2018

                                 GEOFFREY S. BERMAN
                                 United States Attorney
                                 Attorney for the United States of
                                 America


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                                        VERIFICATION

  STATE OF NEW YORK
  COUNTY OF NEW YORK
  SOUTHERN DISTRICT OF NEW YORK )

          Sheldon Tang, being duly sworn, deposes and says that he is

  a Special Agent with the Internal Revenue Service, Criminal

  Investigation, and as such has responsibility for the within

  action; that he has read the foregoing Verified Complaint and

  knows the contents thereof, and that the same is true to the

  best of his knowledge, information, and belief.

          The sources of deponent's information and the ground of his

  belief are official records and files of the United States,

  information obtained directly by the deponent, and information

  obtained by other law enforcement officials and representatives

  during an investigation of alleged violations of Title 18,

  United States Code.


                                           Sheldon Tang
                                           Supervisory Special Agent
                                           Internal Revenue Service, Criminal
                                           Investigation


  Swor to before me this
   2C'.\   day of February, 2018:



  NOTARY PUBLIC


           KEVIN C. GOR MAN
   Notary Public, State of New York
           No. 02G06161201
  Qualified in WESTCHESTER County 6,1
Commission Expires FEBRUARY 20, 201$
